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                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF CONNECTICUT

MARTIN J. DONOVAN                                 :
                                                  :
        Plaintiff                                 :              CIVIL ACTION NO.:
                                                  :              3:12 CV00549 (VLB)
vs.                                               :
                                                  :
YALE UNIVERSITY                                   :
                                                  :
        Defendant                                 :              MAY 31, 2013

                         MOTION FOR RELIEF FROM ORDER

        The defendant Yale University hereby moves for relief from the Court’s

May 22, 2013 order requiring the parties “to comply with the Court’s 4/26/13

Order directing the parties to file a joint statement of undisputed facts as to the

dates of the events relevant to this action, including the dates of any CHRO or

EEOC filings and/or determinations, such that the Court may determine its

jurisdiction over this matter pursuant to 29 U.S.C. 626 and may rule on the

Defendant’s [32] Motion for Permission to File an Amended Answer.”

        After receiving the Court’s May 22, 2013 order, defense counsel again

contacted plaintiff’s counsel in an effort to submit a Joint Statement of

Undisputed Facts. On May 23, 2013, defense counsel wrote plaintiff’s counsel,

notifying him of the Court’s order and enclosing a proposed Joint Statement of

Undisputed Facts.1 To date, defense counsel has not received any response


1
  Copies of the May 23, 2013 letter and the enclosed Joint Statement of Undisputed Facts are
attached hereto as Exhibit A.
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from plaintiff’s counsel.       Since defense counsel has diligently attempted to

comply with the Court’s April 26, 2013 and May 22, 2013 orders, but has

received no cooperation from plaintiff’s counsel, the defendant moves to be

released from the Court’s order requiring the parties to submit a Joint

Statement of Undisputed Facts as to the dates of the events relevant to this

action.2




                                             THE DEFENDANT
                                             YALE UNIVERSITY

                                        BY:___/s/ Patrick M. Noonan (#ct00189)
                                           Patrick M. Noonan
                                           Colleen Noonan Davis (#ct27773)
                                           Donahue, Durham & Noonan, P.C.
                                           741 Boston Post Road
                                           Guilford, CT 06437
                                           (203) 458-9168




2
  The defendant notes that it filed a Statement of Undisputed Facts including the dates relevant
to the Court’s determination of its jurisdiction on May 10, 2013.




                                               2
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                                 CERTIFICATION

       I hereby certify that, on the above-written date, a copy of the foregoing
Motion for Relief from Order was filed electronically and served by mail on
anyone unable to accept electronic filing. Notice of this filing will be sent by e-
mail to all parties by operation of the court’s electronic filing system or by mail
to anyone unable to accept electronic filing as indicated on the Notice of
Electronic Filing. Parties may access this filing through the court’s CM/ECF
System.




                                             _______/s/__________________
                                             Patrick M. Noonan




                                        3
